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 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                     CASE NO. 14-cr-1748-GPC
11                                   Plaintiff,     ORDER GRANTING
                                                    DEFENDANT’S MOTION TO
12           v.                                     STAY RESTITUTION PENDING
                                                    APPEAL AND ORDERING
13                                                  DEFENDANT TO MAKE
                                                    RESTITUTION PAYMENTS TO
14                                                  THE DISTRICT COURT’S
      PABLO ALVAREZ,
                                                    REGISTRY
15
                                   Defendant.
                                                    [Dkt. No. 84.]
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           Presently before the Court is Defendant Pablo Alvarez’s (“Defendant”) motion
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     to stay restitution pending appeal. (Dkt. No. 84.) The United States has opposed the
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     motion. (Dkt. No. 89.) For the reasons set forth below, the Court GRANTS
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     Defendant’s motion to stay restitution pending appeal, and also GRANTS the United
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     States’ request to order Defendant to make restitution payments to the district court’s
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     registry.
23
                                       BACKGROUND
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           On October 31, 2014, Defendant was sentenced after pleading guilty to
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     transportation of illegal aliens, in violation of 8 U.S.C. § 1324. (Dkt. No. 66.) On
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     January 27, 2015, Defendant was ordered to pay restitution in the amount of $2,900 to
27
     San Diego Rent A Car. (Dkt. No. 83.)
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           On February 4, 2015, Defendant filed a motion to stay restitution pending

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 1 appeal. (Dkt. No. 84.) Defendant filed his notice of appeal relating to the order of
 2 restitution on February 9, 2015. (Dkt. No. 86.) The United States filed its opposition
 3 to the motion to stay restitution on February 19, 2015. (Dkt. No. 89.)
 4                                   LEGAL STANDARD
 5         Federal Rule of Criminal Procedure 38(e) provides that “[i]f the defendant
 6 appeals, the district court . . . may stay – on any terms considered appropriate – any
 7 sentence providing for restitution under 18 U.S.C. § 3556.” Fed. R. Crim. P. 38(e)(1).
 8                                       DISCUSSION
 9         Defendant argues that the Court should stay the criminal restitution order
10 pending appeal based on the factors for a stay pending appeal in the civil context:
11 (1) whether the stay applicant has made a strong showing that he is likely to succeed
12 on the merits; (2) whether the applicant will be irreparably injured absent a stay;
13 (3) whether issuance of the stay will substantially injure the other parties interested in
14 the proceeding; and (4) where the public interest lies. (Dkt. No. 84-1 at 3-4 (citing
15 Hilton v. Brauskill, 481 U.S. 770, 776 (1987)).1 He contends that: (1) he is likely to
16 succeed on the merits because the magistrate judge failed to properly advise him of
17 possible restitution as a penalty, he was not a cause of the damage to the rental car, and
18 a recent Supreme Court case supports his constitutional challenge; (2) he would be
19 irreparably harmed if he prevails on appeal and is not able recover the monies from San
20 Diego Rent A Car, particularly because he is indigent; (3) San Diego Rent A Car will
21 not be substantially injured by a stay because it is a small amount of monies for a
22 business, and it did not request restitution until being contacted by the government; and
23 (4) the public interest is not implicated. (Id. at 4-6.) Defendant also argues that he has
24 not waived appeal of the restitution order. (Id. at 1-3.)
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           The Court notes that it is unclear whether it is appropriate to apply the Hilton
27 test here given that this is a criminal rather than a civil case. Further, some courts have
   held that the Hilton test does not apply to civil monetary judgments, which is more
28 analogous to restitution. See Bolt v. Merrimack Pharms., Inc., No. 04-cv-0893-WBS-
   DAD, 2005 WL 2298423, at *2 (E.D. Cal. 2005).
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 1         The United States summarily contends that this Court should deny Defendant’s
 2 motion for a stay of the order of restitution. (Dkt. No. 89 at 2.) Alternatively, the
 3 United States requests that the Court require Defendant to make his restitution
 4 payments to the district court’s registry, to protect San Diego Rent A Car if
 5 Defendant’s appeal is unsuccessful.2 (Id.)
 6         Under Rule 38(e)(1), the Court has the discretion to stay restitution pending
 7 appeal, and to set whatever terms the Court considers appropriate during the pendency
 8 of the stay. Fed. R. Crim. P. 38(e)(1). Given Defendant’s concerns regarding
 9 recovering the monies from San Diego Rent A Car if his appeal is successful, and the
10 lack of substantial injury to San Diego Rent A Car in delaying their receipt of
11 restitution, the Court exercises its discretion and GRANTS Defendant’s request to stay
12 restitution pending appeal. However, the Court also GRANTS the United States’
13 request that Defendant deposit his restitution payments into the district court’s registry
14 to protect San Diego Rent A Car.
15         IT IS SO ORDERED.
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17 DATED: April 10, 2015
18
                                              HON. GONZALO P. CURIEL
19                                            United States District Judge
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            The United States cites Rule 38(e)(2), which provides that “[t]he court may
26 issue any order reasonably necessary to ensure compliance with a restitution order or
   a notice order after disposition of an appeal, including: (A) a restraining order; (B) an
27 injunction; (C) an order requiring the defendant to deposit all or part of any monetary
   restitution into the district court’s registry; or (D) an order requiring the defendant to
28 post a bond.” Fed. R. Crim. P. 38(e)(2). (Dkt. No. 89 at 2.) However, by its terms, this
   provision only applies “after disposition of an appeal.”
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